Case 1:15-cv-14504-TLL-PTM ECF No. 87,
            Case: 17-1408 Document:    PageID.1842
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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
      Clerk                        CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                Filed: October 12, 2017

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                    Re: Case No. 17-1408, Sharyl Marden v. County of Midland, et al
                        Originating Case No. : 1:15-cv-14504

Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.
Case 1:15-cv-14504-TLL-PTM ECF No. 87,
            Case: 17-1408 Document:    PageID.1843
                                    35-1              Filed 10/12/17
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                                                                      2   2 of 3   (2 of 3)




                                       Sincerely yours,

                                       s/Connie A. Weiskittel
                                       Mediation Administrator

cc: Mr. David J. Weaver

Enclosure

No mandate to issue
Case 1:15-cv-14504-TLL-PTM ECF No. 87,
            Case: 17-1408 Document:    PageID.1844
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                                           Filed: 10/12/2017    Page:Page
                                                                      1   3 of 3             (3 of 3)



                                         Case No. 17-1408

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



SHARYL MARDEN

              Plaintiff - Appellant

v.

COUNTY OF MIDLAND; JEFFERY DEROCHER; BRIAN KEIDEL; RICHARD SPEICH;
JOSHUA MICHAEL SAYLOR; RICHARD HARNOIS; BRYAN KRYZANOWICZ

              Defendants - Appellees



     In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                                  ENTERED PURSUANT TO RULE 33,
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


Issued: October 12, 2017
                                                  ___________________________________
